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                         1    STIP
                              ADAM L. GILL, ESQ.
                         2    Nevada State Bar No. 11575
                              723 South 3rd Street
                         3    Las Vegas, NV 89101
                              P: (702) 750-1590
                         4    F: (702) 548-6884
                              Attorney for Defendant
                         5    Francisco Mares

                         6                                UNITED STATES DISTRICT COURT
                         7                                        DISTRICT OF NEVADA
                         8    UNITED STATES OF AMERICA,
                         9                  Plaintiff,                            Case No: 2:20-CR-00018-JCM-EJY
                        10    vs.
                                                                                  STIPULATION TO CONTINUE
                        11    RENATO CONSUEGRA-CLEMENTE,                          CALENDAR CALL AND TRIAL DATE
                              Aka “Tito,” and FRANCISCO JAIVER
                        12
                              MARES, Aka “Pancho,”,
                        13                  Defendants.
                        14
                        15           IT IS HEREBY STIPULATED AND AGREED, by and between Nicholas A. Trutanich,

                        16    United States Attorney, and Allison Reese, Assistant United States Attorney, counsel for the

                        17    United States of America, Adam Gill, Esq. of Aisen, Gill & Associates, counsel for Defendant
                        18
                              FRANCISCO MARES, and Rene L. Valladares, Federal Public Defender, and Paul D. Riddle,
                        19
                              Assistant Federal Public Defender, counsel for Defendant RENATO CONSUEGRA-
                        20
                              CLEMENTE, that the trial currently set for January 4, 2021 at 9:00 a.m., be vacated and
                        21
                              continued to a date and time convenient to the Court, but no sooner than ninety (90) days.
                        22
                        23           This stipulation is entered for the following reasons:

                        24      1. Per the Third Amended General Order 2020-03 filed, no trials are being held in the United
                        25          States District Court for the District of Nevada at this time.
                        26
                                2. In addition, counsel for the defendants need additional time to review discovery and
                        27
                                    otherwise prepare for trial in this matter.
                        28
  AISEN, GILL, &
 ASSOCIATES, LLP
723 SOUTH 3RD STREET
  LAS VEGAS, NV 89101
                             Case 2:20-cr-00018-JCM-EJY           Document 30        Filed 12/01/20    Page 2 of 4




                                3. Mr. Mares is not in custody and he agrees with this continuance.
                         1
                         2      4. Mr. Consuegra-Clemente is incarcerated and does not object to the continuance.

                         3      5. The parties agree to the continuance.

                         4      6. The additional time requested herein is not sought for purposes of delay, but to allow
                         5
                                   counsel for defendants sufficient time within which to be able to effectively and
                         6
                                   completely investigate the discovery materials provided.
                         7
                                7. Additionally, denial of this request for continuance could result in a miscarriage of justice.
                         8
                                   The additional time requests by this Stipulation is excludable in putting the time within
                         9
                        10         which the trial herein must commence pursuant to the Speedy Trial Act, Title 18, United

                        11         States Code, Section 3161(h)(7)A), considering the factors under Title 18, United States
                        12         Code, Section 3161(h)(7)(B)(i), (iv).
                        13
                                8. This is the third request to continue trial dates filed herein.
                        14
                                    DATED this 1st day of December, 2020.
                        15
                            /s/ Adam L. Gill
                        16 Adam L. Gill, Esq.
                        17 Counsel for Defendant
                           Francisco Mares
                        18
                            /s/ Allison Reese
                        19 Allison Reese, Esq.
                           Attorney for the United States
                        20 Assistant United States Attorney
                        21
                           /s/ Paul D. Riddle
                        22 Assistant Federal Public Defender
                           Counsel for Defendant
                        23 Renato Consuegra-Clemente
                        24

                        25
                        26

                        27
                        28
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                              FOF
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                         6    Attorneys for Defendant
                              Francisco Mares
                         7
                                                          UNITED STATES DISTRICT COURT
                         8
                                                                  DISTRICT OF NEVADA
                         9
                              UNITED STATES OF AMERICA,
                        10
                                           Plaintiff,
                                                                                  Case No: 2:20-CR-00018-JCM-EJY
                        11
                              vs.
                        12
                              RENATO CONSUEGRA-CLEMENTE,                          ORDER
                        13    Aka “Tito,” and FRANCISCO JAIVER
                              MARES, Aka “Pancho,”,
                        14
                                           Defendants.
                        15
                        16                                          FINDINGS OF FACT
                        17              Based on the stipulation of Counsel, and good cause appearing, the Court finds that:
                        18
                                1. Per the Third Amended General Order 2020-03 filed, no trials are being held in the United
                        19
                                    States District Court for the District of Nevada at this time.
                        20
                                2. In addition, counsel for the defendants need additional time to review discovery and
                        21
                        22          otherwise prepare for trial in this matter.

                        23      3. Mr. Mares is not in custody and he agrees with this continuance.

                        24      4. Mr. Consuegra-Clemente is incarcerated and does not object to the continuance.
                        25
                                5. The parties agree to the continuance.
                        26
                                6. The additional time requested herein is not sought for purposes of delay, but to allow
                        27
                                    counsel for defendants sufficient time within which to be able to effectively and
                        28
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                                                                                  3
                             Case 2:20-cr-00018-JCM-EJY          Document 30        Filed 12/01/20     Page 4 of 4




                                    completely investigate the discovery materials provided.
                         1
                         2      7. Additionally, denial of this request for continuance could result in a miscarriage of justice.

                         3          The additional time requests by this Stipulation is excludable in putting the time within

                         4          which the trial herein must commence pursuant to the Speedy Trial Act, Title 18, United
                         5
                                    States Code, Section 3161(h)(7)A), considering the factors under Title 18, United States
                         6
                                    Code, Section 3161(h)(7)(B)(i), (iv).
                         7
                                                                CONCLUSIONS OF LAW
                         8
                                    The ends of justice served by granting said continuance outweigh the best interest of the
                         9
                        10 public and the defendants in a speedy trial, since the failure to grant said continuance would be
                        11 likely to result in a miscarriage of justice, would deny the parties herein sufficient time and the
                        12 opportunity within which to be able to effectively and thoroughly prepare for trial, taking into
                        13
                             account the exercise of due diligence.
                        14
                                    The continuance sought herein is excludable under the Speedy Trial Act, Title 18, United
                        15
                             States Code, Section 3161(h)(7)(A), when considering the facts under Title 18, United States
                        16
                        17 Code, Sections 3161(h)(7)(B) and 3161(h)(7)(B)(i), (iv).
                        18                                                  ORDER

                        19          IT IS THEREFORE ORDERED that the calendar call currently scheduled for December
                        20 30, 2020, at the hour of 1:30 p.m., be vacated and continued to _________________ at the hour of
                        21
                             ___:___ __.m.; and the trial currently scheduled for January 4, 2021, at the hour of 9:00 a.m., be
                        22
                             vacated and continued to __________________ at the hour of ___:___ __.m.
                        23
                                Dated this _______day of _________, 2020.
                        24

                        25
                        26                                                           UNITED STATES DISTRICT JUDGE
                        27
                        28
  AISEN, GILL, &
 ASSOCIATES, LLP
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  LAS VEGAS, NV 89101
                                                                             4
